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                  EXHIBIT 5
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Case Summary
ANDREW EDWARD LEFT                     NFA 95BCC00020                 NFA ID: 0253075


                       Respondent/Effective Date Summary

 NFA ID       Respondent                            Effective Date

 0250838      BRIDGES, DAVID RAY                   04/13/2000

 0198208      BURSTEEN, JEFFREY LAWRENCE 03/02/1998
 0228645      BUSHEY, MICHAEL DALE                 07/28/1997
 0032316      CIARAMELLA, JOHN THOMAS              07/17/1997

 0253085      DAYAN, BENJI SCOTT                   05/18/1998
 0023480      FREEDBERG, LARRY S                   07/17/1997
 0196255      GETZ, DANIEL ALAN                    03/02/1998

 0209853      GROSS, MITCHELL ALLEN                03/02/1998
 0181931      KAHN, LARRY ALAN                     07/17/1997
 0253075      LEFT, ANDREW EDWARD                  03/02/1998
 0245804      MULLER, ADRIAN                       06/04/1997

 0198483      PARKS, WILLIAM KELLY                 04/13/2000
 0055895      SAATHOFF, CARL ROBERT                07/01/1997
 0200481      SOMMERS, MARTIN                      07/01/1997
 0236721      STEINFELD, DAVID SCOTT               07/05/1996
 0184642      STERN, ANDREW N                      07/01/1997

 0244735      UNIVERSAL COMMODITY                  07/01/1997
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                                                  • C.R.2-2(a) - CHEAT,FRAUD
                                                  DECEIVE CUSTOMERS

0209853      GROSS, MITCHELL ALLEN                • C.R.2-4 - HIGH STDS. OF
                                                  COMMERCIAL HONOR

0181931      KAHN, LARRY ALAN                     • C.R.2-9 - SUPERVISION OF
                                                  EMPLOYEES

0253075      LEFT, ANDREW EDWARD                  • C.R.2-29(a)(1) - FRAUDULENT
                                                  COMM. TO PUBLIC PROHIB.

                                                  • C.R.2-2(a) - CHEAT,FRAUD
                                                  DECEIVE CUSTOMERS
0245804      MULLER, ADRIAN                       • C.R.2-2(a) - CHEAT,FRAUD
                                                  DECEIVE CUSTOMERS
                                                  • C.R.2-29(a)(1) - FRAUDULENT
                                                  COMM. TO PUBLIC PROHIB.
0198483      PARKS, WILLIAM KELLY                 • C.R.2-2(a) - CHEAT,FRAUD
                                                  DECEIVE CUSTOMERS
                                                  • C.R.2-29(a)(1) - FRAUDULENT
                                                  COMM. TO PUBLIC PROHIB.

0055895      SAATHOFF, CARL ROBERT                • C.R.2-29(a)(1) - FRAUDULENT
                                                  COMM. TO PUBLIC PROHIB.

                                                  • C.R.2-9 - SUPERVISION OF
                                                  EMPLOYEES
                                                  • C.R.2-29(b)(1) - USE OF
                                                  DECEPTIVE PROMO MATER.
                                                  • C.R.2-29(b)(2) -
                                                  MISSTATEMT/OMISSION OF
                                                  FACT PROMP
0200481      SOMMERS, MARTIN                      • C.R.2-4 - HIGH STDS. OF
                                                  COMMERCIAL HONOR
                                                  • C.R.2-29(a)(1) - FRAUDULENT
                                                  COMM. TO PUBLIC PROHIB.
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                                                  • BUSINESS CONDUCT
                                                  COMMITTEE

                                                  • APPEALS COMMITTEE
0023480      FREEDBERG, LARRY S                   • HEARING COMMITTEE
                                                  • APPEALS COMMITTEE

                                                  • BUSINESS CONDUCT
                                                  COMMITTEE

0196255      GETZ, DANIEL ALAN                    • HEARING COMMITTEE
                                                  • APPEALS COMMITTEE
                                                  • BUSINESS CONDUCT
                                                  COMMITTEE

0209853      GROSS, MITCHELL ALLEN                • APPEALS COMMITTEE
                                                  • BUSINESS CONDUCT
                                                  COMMITTEE

                                                  • HEARING COMMITTEE
0181931      KAHN, LARRY ALAN                     • BUSINESS CONDUCT
                                                  COMMITTEE

                                                  • HEARING COMMITTEE
                                                  • APPEALS COMMITTEE

0253075      LEFT, ANDREW EDWARD                  • APPEALS COMMITTEE

                                                  • HEARING COMMITTEE
                                                  • BUSINESS CONDUCT
                                                  COMMITTEE

0245804      MULLER, ADRIAN                       • HEARING COMMITTEE

                                                  • APPEALS COMMITTEE
                                                  • BUSINESS CONDUCT
                                                  COMMITTEE

0198483      PARKS, WILLIAM KELLY                 • APPEALS COMMITTEE
                                                • SALES
          Case 3:18-cv-04865-EMC Document 112-5 Filed      PRACTICE
                                                      10/23/18 Page 5 of 10

0253075      LEFT, ANDREW EDWARD                  • SALES PRACTICE

                                                  • GENERAL CONDUCT

0245804      MULLER, ADRIAN                       • SALES PRACTICE
                                                  • GENERAL CONDUCT

0198483      PARKS, WILLIAM KELLY                 • GENERAL CONDUCT

                                                  • SALES PRACTICE
0055895      SAATHOFF, CARL ROBERT                • GENERAL CONDUCT

                                                  • SALES PRACTICE

0200481      SOMMERS, MARTIN                      • SALES PRACTICE
                                                  • GENERAL CONDUCT

0236721      STEINFELD, DAVID SCOTT               • GENERAL CONDUCT

                                                  • SALES PRACTICE
0184642      STERN, ANDREW N                      • SALES PRACTICE

                                                  • GENERAL CONDUCT

0244735      UNIVERSAL COMMODITY                  • SALES PRACTICE
             CORPORATION

                                                  • GENERAL CONDUCT

0253107      VITELLO, LEONARD PETER JR            • SALES PRACTICE
                                                  • GENERAL CONDUCT

0083808      ZAGER, ARNOLD BARRY                  • GENERAL CONDUCT

                                                  • SALES PRACTICE
0181512      ZINNER, KENNETH ALAN                 • GENERAL CONDUCT

                                                  • SALES PRACTICE

                             Penalty/Event Summary

NFA ID      Respondent                         Penalty/Event            Event Date
0181931 Case
          KAHN,   LARRY ALANDocument 112-5
             3:18-cv-04865-EMC          • MAY
                                           FiledNOT
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                                        SUPERVISE 5 YRS
                                           • FINE $20000
                                           • REQUIRED TO
                                           TAPE RECORD 2 YRS
0253075    LEFT, ANDREW EDWARD             • RESTRICTIONS ON
                                           ACTIVITIES 2 YRS

                                           • REQUIRED TO
                                           TAPE RECORD 2 YRS
                                           • TEMPORARY BAR
                                           FROM NFA
                                           MEMBERSHIP 3 YRS
                                           • MAY NOT
                                           SUPERVISE 2 YRS
                                           • OTHER--SEE
                                           NARRATIVE

0245804    MULLER, ADRIAN                  • REQUIRED TO
                                           TAPE RECORD 1 YRS

                                           • FINE $5000
0198483    PARKS, WILLIAM KELLY            • PERMANENT BAR        03/14/2000
                                           FROM NFA
                                           MEMBERSHIP
                                           • FINE $10000          03/14/2000

                                           • OTHER--SEE           03/14/2000
                                           NARRATIVE

0055895    SAATHOFF, CARL ROBERT           • FINE $200000
                                           • OTHER--SEE
                                           NARRATIVE
                                           • SUBMIT
                                           PROMOTIONAL
                                           MATERIAL TO NFA
                                            • OTHER--SEE
         Case 3:18-cv-04865-EMC Document 112-5                        03/14/2000
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                                            NARRATIVE

                              Narrative Summary

                            General Case Narrative

COMPLAINT -

ON DECEMBER 21, 1995, NFA'S BUSINESS CONDUCT COMMITTEE
("COMMITTEE") ISSUED A COMPLAINT TO UNIVERSAL COMMODITY
CORPORATION ("UCC"), ANDREW N. STERN ("STERN"), CARL ROBERT
SAATHOFF ("SAATHOFF"), LARRY S. FREEDBERG ("FREEDBERG"), LARRY ALAN
KAHN ("KAHN"), JOHN THOMAS CIARAMELLA ("CIARAMELLA"), MARTIN
SOMMERS ("SOMMERS"), DAVID RAY BRIDGES ("BRIDGES"), LEONARD PETER
VITELLO, JR. ("VITELLO"), BENJI SCOTT DAYAN ("DAYAN"), JEFFREY LAWRENCE
BURSTEEN ("BURSTEEN"), ARNOLD BARRY ZAGER ("ZAGER"), KENNETH ALAN
ZINNER ("ZINNER"), WILLIAM KELLY PARKS ("PARKS"), MICHAEL D. BUSHEY
("BUSHEY"), MITCHELL GROSS ("GROSS"), DANIEL ALAN GETZ ("GETZ"), DAVID
SCOTT STEINFELD ("STEINFELD"), ANDREW EDWARD LEFT ("LEFT") AND
ADRIAN MULLER ("MULLER").

THE COMPLAINT ALLEGED THAT UCC, STERN AND SAATHOFF USED
DECEPTIVE AND MISLEADING PROMOTIONAL MATERIAL, IN VIOLATION OF NFA
COMPLIANCE RULES RULES 2-29(a)(1), 2-29(b)(1) AND 2-29(b)(2). THE
COMPLAINT ALSO ALLEGED THAT UCC, BURSTEEN, SOMMERS, BUSHEY,
BRIDGES, STEINFELD, DAYAN, PARKS, ZAGER, ZINNER, VITELLO, GETZ, LEFT
AND MULLER CHEATED, DEFRAUDED AND DECEIVED COMMODITY FUTURES
CUSTOMERS AND ENGAGED IN SOLICITATIONS WHICH OPERATED AS A
FRAUD OR DECEIT, IN VIOLATION OF NFA COMPLIANCE RULES 2-2(a) AND 2-
29(a)(1). MOREOVER, THE COMPLAINT ALLEGED THAT UCC, SOMMERS, ZAGER,
GROSS AND GETZ FAILED TO OBSERVE HIGH STANDARDS OF COMMERCIAL
HONOR AND JUST AND EQUITABLE PRINCIPLES OF TRADE IN THE CONDUCT
OF THEIR COMMODITY FUTURES BUSINESS, IN VIOLATION OF NFA
COMPLIANCE RULE 2-4. FURTHERMORE, THE COMPLAINT ALLEGED THAT UCC,
STERN, SAATHOFF, KAHN, FREEDBERG AND CIARAMELLA FAILED TO
DILIGENTLY CARRY OUT THEIR SUPERVISORY RESPONSIBILITIES, IN VIOLATION
OF NFA COMPLIANCE RULE 2-9.

ANSWER - MICHAEL BUSHEY
ON JANUARY
        Case19, 1996, BUSHEY Document
             3:18-cv-04865-EMC SUBMITTED
                                      112-5AN ANSWER
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                                                            Page 8 ofCOMPLAINT
                                                                      10

IN WHICH HE DENIED THE MATERIAL ALLEGATIONS CONTAINED THEREIN.
BUSHEY REQUESTED A HEARING BEFORE NFA'S HEARING COMMITTEE.

ANSWER - ANDREW LEFT

ON MARCH 20, 1996, LEFT SUBMITTED AN ANSWER TO THE COMPLAINT IN
WHICH HE DENIED THE MATERIAL ALLEGATIONS CONTAINED THEREIN. LEFT
REQUESTED A HEARING BEFORE NFA'S HEARING COMMITTEE.

ANSWER - ADRIAN MULLER

ON MARCH 20, 1996, MULLER SUBMITTED AN ANSWER TO THE COMPLAINT IN
WHICH HE DENIED THE MATERIAL ALLEGATIONS CONTAINED THEREIN.
MULLER REQUESTED A HEARING BEFORE NFA'S HEARING COMMITTEE.

DECISION - ADRIAN MULLER

ON MAY 20, 1997, NFA'S BUSINESS CONDUCT COMMITTEE ISSUED A DECISION
ACCEPTING MULLER'S SETTLEMENT OFFER IN WHICH HE NEITHER ADMITTED
NOR DENIED THE ALLEGATIONS OF THE COMPLAINT. THE BCC ORDERD
MULLER TO PAY A $5,000 FINE. THE BCC ALSO ORDERED MULLER TO TAPE
RECORD ALL OF HIS TELEPHONE SOLICITATIONS TO THE PUBLIC FOR ONE
YEAR AND TO RETAIN ALL TAPES FOR AT LEAST TWELVE MONTHS. THIS
DECISION BECOMES EFFECTIVE JUNE 4, 1997.

ANSWER - WILLIAM KELLY PARKS

ON MARCH 20, 1996, PARKS SUBMITTED AN ANSWER TO THE COMPLAINT IN
WHICH HE DENIED THE MATERIAL ALLEGATIONS CONTAINED THEREIN. PARKS
REQUESTED A HEARING BEFORE NFA'S HEARING COMMITTEE.

ANSWER - MITCHELL GROSS AND MARTIN SOMMERS

ON MARCH 20, 1996, GROSS AND SOMMERS SUBMITTED AN ANSWER TO THE
COMPLAINT IN WHICH THEY DENIED THE MATERIAL ALLEGATIONS
CONTAINED THEREIN. GROSS AND SOMMERS REQUESTED A HEARING BEFORE
NFA'S HEARING COMMITTEE.

ANSWER - UNIVERSAL COMMODITY CORP., ANDREW STERN AND CARL
SAATHOFF
DECISION Case
         - MICHAEL    D. BUSHEYDocument 112-5 Filed 10/23/18 Page 9 of 10
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ON JULY 28, 1997, THE HEARING PANEL ISSUED A DECISION ACCEPTING
BUSHEY'S SETTLEMENT OFFER IN WHICH HE NEITHER ADMITTED NOR DENIED
THE ALLEGATIONS ALLEGED IN THE COMPLAINT. THE HEARING PANEL
BARRED BUSHEY FROM APPLYING FOR NFA MEMBERSHIP OR ASSOCIATE
MEMBERSHIP, OR FROM ACTING AS A PRINCIPAL OF AN NFA MEMBER, FOR A
PERIOD OF SIX YEARS, WITH CREDIT FOR THE THREE YEARS DURING WHICH
HE HAS NOT WORKED IN THE FUTURES INDUSTRY. AT THE END OF THE
AFOREMENTIONED BAR, BUSHEY MAY APPLY FOR NFA ASSOCIATE
MEMBERSHIP ONLY, PROVIDED THAT HE SHALL NOT ACT AS A PRINCIPAL OR
SUPERVISE ANY NFA MEMBER FOR TWO YEARS AFTER NFA ASSOCIATE
MEMBERSHIP IS GRANTED.

IN ADDITION, BUSHEY MUST TAPE RECORD ALL OF HIS CONVERSATIONS
WITH EXISTING AND POTENTIAL CUSTOMERS FOR TWO YEARS AFTER HE IS
GRANTED NFA ASSOCIATE MEMBERSHIP AND RETAIN EACH TAPE FOR TWO
YEARS. BUSHEY MUST ALSO MAINTAIN A DAILY WRITTEN LOG OF EACH
CONVERSATION, IDENTIFYING THE CUSTOMER HE SPOKE WITH AND THE
DATE. MOREOVER, ANY MEMBER SPONSORING BUSHEY AS AN ASSOCIATE
MUST AGREE IN WRITING TO PERFORM THE SUPERVISORY UNDERTAKINGS
CONTAINED IN THE SUPERVISORY AGREEMENT ATTACHED TO BUSHEY'S
OFFER OF SETTLEMENT.

AT THE END OF THE AFOREMENTIONED MEMBERSHIP BAR, NEITHER THE
COMPLAINT NOR THE DECISION IN THIS CASE SHALL SERVE AS THE SOLE
BASIS FOR A PROCEEDING TO DENY BUSHEY'S NFA ASSOCIATE MEMBERSHIP.
THIS DECISION BECOMES EFFECTIVE AUGUST 12, 1997.

DECISION - BRIDGES, VITELLO, DAYAN, BURSTEEN, ZAGER, ZINNER, PARKS,

GROSS, GETZ, AND LEFT.

ON FEBRUARY 13, 1998, A DESIGNATED PANEL OF NFA'S HEARING
COMMITTEE ISSUED A DECISION AFTER A HEARING TO BRIDGES, VITELLO,
DAYAN, BURSTEEN, ZAGER ZINNER, PARKS, GROSS, GETZ AND LEFT. THE
PANEL MADE THE FOLLOWING FINDINGS AND IMPOSED THE FOLLOWING
PENALTIES:

WILLIAM KELLY PARKS -
INCONSISTENT   WITH JUST ANDDocument
        Case 3:18-cv-04865-EMC EQUITABLE
                                     112-5PRINCIPLES     OFPage
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CONSEQUENTLY, THE PANEL FINED BRIDGES $5,000 AND PLACED
RESTRICTIONS ON HIS ACTIVITIES FOR THREE YEARS WHICH PREVENT HIM
FROM SUPERVISING ANY AP AND REQUIRE HIM TO TAPE RECORD AND LOG
ALL CONVERSATIONS WITH CURRENT AND POTENTIAL CUSTOMERS.

ANDREW LEFT -

THE PANEL FOUND THAT LEFT MADE FALSE AND MISLEADING STATEMENTS TO
CHEAT, DEFRAUD OR DECEIVE A CUSTOMER IN VIOLATION OF NFA
COMPLIANCE RULES 2-2(a) AND 2-29(a)(1). LEFT'S CONDUCT WAS
INCONSISTENT WITH JUST AND EQUITABLE PRINCIPLES OF TRADE.

CONSEQUENTLY, THE PANEL BARRED LEFT FROM ASSOCIATION WITH AND
FROM ACTING AS A PRINCIPAL OF ANY NFA MEMBER FOR THREE YEARS;
ORDERED HIM TO TAKE AN ETHICS TRAINING COURSE; AND PLACED
RESTRICTIONS ON HIS ACTIVITIES FOR TWO YEARS WHICH PREVENT HIM
FROM SUPERVISING ANY AP AND REQUIRE HIM TO TAPE RECORD AND LOG
ALL CONVERSATIONS WITH CURRENT AND POTENTIAL CUSTOMERS.

BENJI DAYAN -

THE PANEL FOUND THAT DAYAN MADE FALSE AND MISLEADING STATEMENTS
WITH A RECKLESS DISREGARD FOR THE TRUTH, IN VIOLATION OF NFA
COMPLIANCE RULES 2-2(a) AND 2-29(a)(1). DAYAN'S CONDUCT WAS
INCONSISTENT WITH JUST AND EQUITABLE PRINCIPLES OF TRADE.

CONSEQUENTLY, THE PANEL FINED DAYAN $2,000; AND PLACED
RESTRICTIONS ON HIS ACTIVITIES FOR THREE YEARS WHICH PREVENT HIM
FROM SUPERVISING ANY AP AND REQUIRE HIM TO TAPE RECORD AND LOG
ALL CONVERSATIONS WITH CURRENT AND POTENTIAL CUSTOMERS.

JEFFREY BURSTEEN -

THE PANEL FOUND THAT BURSTEEN MADE STATEMENTS THAT WERE
INTENDED TO CHEAT, DEFRAUD, OR DECEIVE CUSTOMERS, IN VIOLATION OF
NFA COMPLIANCE RULES 2-2(a) AND 2-29(a)(1). BURSTEEN'S CONDUCT WAS
INCONSISTENT WITH JUST AND EQUITABLE PRINCIPLES OF TRADE.
